               IN THE UNITED STATES DISTRICT COURT FOR THE
                       WESTERN DISTRICT OF MISSOURI
                             CENTRAL DIVISION


SUZANNE STEINBACK,                            )
                                              )
                Plaintiff,                    )
       v.                                     )
                                              )      Case No. 19-04176-CV-C-NKL
MAXION WHEELS SEDALIA LLC,                    )
                                              )      September 3, 2020
                Defendant.                    )


                      MINUTE ENTRY - PRETRIAL CONFERENCE

HONORABLE Nanette K. Laughrey presiding at Jefferson City, Missouri.
====================================================================
Time: 11:00 a.m. – 1:03 p.m.

Appearances:

Plaintiff by: Kirk Rahm and Martin Meyers
Defendant by: James Sullivan and Randall Coffey

Pretrial Conference held by teleconference.

Procedural Issues:

The Court informed the parties that there are two cases set on the September 14, 2020 trial
docket. The Campbell v. Lake Regional Medical, 19-04124-CV, will be set the first week of the
docket, September 14, 2020, and this case will be set on the second week of the docket,
September 21, 2020.

A final pretrial conference will be held at 8:30 a.m. on September 21, 2020. Due to COVID-19,
jury selection will be held in one courtroom on the 4th Floor of the courthouse and the trial will
be held in another courtroom on the 4th floor. Everyone will be required to wear masks when in
the courthouse, except for the witness when testifying. Bench conferences will be held with
everyone remaining at their seats and utilizing headsets. Jury selection will begin at
approximately 9:00 a.m. Trial will be held between 9:00 a.m. and 5:00 p.m., approximately,
with a morning, lunch and afternoon break.

The Court will select 7 jurors. The Court will conduct voir dire. Each party will be allowed 3
peremptory challenges.




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Each side will be allowed 30 minutes for opening statements. No exhibits may be used during
opening statements without the agreement of the other side. If an exhibit is identified as an “A”
exhibit, it can be used in opening statements.

No speaking objections or arguments shall be made in front of the jurors. The parties shall limit
objections to the basis only (e.g., hearsay, asked and answered). If the Court needs more
information, the Court will invite the parties to present argument outside the hearing of the jury.

At the close of each trial day, counsel for each party must notify opposing counsel of the
witnesses that party plans to call the following day.

The parties stated they will be using deposition designations at trial. If a party plans to use
deposition designations at trial, the party shall provide to the Court a copy of the deposition 24
hours before the party plans to use it. The deposition designations shall be highlighted in one
color, with objections in a different color, counter designations in a third color, and objections to
counter designations in a fourth color. The Parties should state the basis for any objections.


Motions in limine:

If circumstances change during trial, a party may request a bench conference to point out the
circumstances that would change the Court’s ruling on any motions in limine and ask for
permission to offer evidence that had been ordered excluded. Otherwise, excluded evidence may
not be referenced. If a motion in limine is denied, the party must still object at trial to preserve
that objection.

       Plaintiff’s motions in limine, Doc. 49 and 50:

       1. The fact or timing of Plaintiff’s Contacting or Retaining an Attorney. The Court
       granted the motion.

       2. Plaintiff’s state court interrogatory answer regarding the amount of damages she
       is seeking. The Court granted the motion.

       3. Plaintiff’s ongoing Workers’ Compensation case against Defendant. The Court granted
       the motion.

       4. Plaintiff’s application for SSDI and receipt of disability payments from The
       Hartford. The Court took the issue under advisement

       5. The other discrimination lawsuit pending between the parties. The Court took the
       motion under advisement and will give the parties an opportunity to work this issue out.
       The Court will hold a teleconference at 2:00 PM on September 9, 2020 to discuss the
       issue if the parties have not worked it out.

       6. Drug use by Plaintiff away from work during any timeframe, including the
       timeframe of her employment. The Court granted the motion.



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       7. Plaintiff’ Membership or participation in adult online communities, commentary
       about Plaintiff’s physical appearance or sex life, or reference to Plaintiff’s sex life or
       manner of dress. The Court excluded any reference to clothing or physical appearance. As
       to the other issues the Court took the motion under advisement and will take up the issue
       at the teleconference on September 9, 2020.

       8. Settlement Discussions or References to Mediation or Conciliation. The Court granted
       the motion.

       Defendants’ motion in limine, Doc. 50:

       1. Evidence relating to her claims pending in the Pettis County case. The Court took the
       motion under advisement and will take this issue up at the teleconference on September
       9, 2020.

       2. Evidence of Alleged Harassment and Discrimination. The Court took the motion under
       advisement and will take this issue up at the teleconference on September 9, 2020.

       3. Evidence of Alleged Racist Comments. The Court granted the motion.

       4. Lay Opinion Testimony that her work caused physical injury or disability. The Court
       denied the motion as it relates to her statements that “I had pain as a result of doing this
       and didn’t have pain before.”

       5. Evidence regarding a letter from the Missouri Division of Employment Security
       regarding the reason for Plaintiff’s discharge. The Court granted the motion.

       6. Hearsay, Opinions, and Conclusion. The Court granted the motion as to the hearsay
       statements of other workers and denied the motion as it relates to her beliefs that Maxion
       retaliated against her. The Court will permit the statement regarding Maxion wanting
       plaintiff gone.

Other Issues

Mr. Meyers stated that Mike Lewis is listed on the Plaintiff’s witness list, however, they have lost
contact with Mr. Lewis and they are trying to locate him. Mr. Meyers requested leave to utilize
an iPad to present exhibits to the Court and Defendant. The Court will permit this method
however, counsel must have a backup procedure if this does not work.

Mr. Sullivan stated they have lost contact with witness Matthew Diedrich and he may be difficult
to subpoena.


Court Reporter: Katie Wirt
Courtroom Deputy: Renea Matthes Mitra




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